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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

                                                    )
JAMES KLUPPELBERG,                                  )
                                                    )
        Plaintiff,                                  )
                                                    )
                v.                                  )   Case No. 13 CV 3963
                                                    )
JON BURGE et al.,                                   )   Judge Joan H. Lefkow
                                                    )
                                                    )
        Defendant.                                  )

                                      OPINION AND ORDER

        Plaintiff James Kluppelberg has filed a motion to apply collateral estoppel to the City of

Chicago’s argument contesting its liability under Monell v. Dep’t. of Soc. Servs. of the City of

New York, 436 U.S. 658, 98 S. Ct. 2018, 56 L. Ed. 2d 611 (1978), by arguing it did not have a

policy of concealing material exculpatory and/or impeachment evidence contained in so-called

“street files” in the late 1980s. For the reasons set forth herein, the court grants Plaintiff’s

motion.

                                          BACKGROUND

        Early in the morning of March 24, 1984, a fire at 4448 South Hermitage in Chicago,

Illinois, killed a mother and her five children. The Chicago Police Department (CPD)

investigated the fire deaths, and, in 1989, James Kluppelberg was prosecuted, convicted, and

sentenced to life in prison. Kluppelberg served almost 23 years of that sentence before being

granted a Certificate of Innocence and released in 2012. In an unrelated incident on April 28,

1984, Jerome Smith and Talman Hickman were shot and killed in front of a housing project in

Chicago. CPD investigated the Smith-Hickman murders, resulting in a man named Nate Fields
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being prosecuted, convicted, and sentenced to death. Fields’s conviction was vacated in 2009,

after which he was retried and acquitted. These two cases have followed a parallel track for the

past 33 years.

        In 2010, Fields filed a civil suit alleging that his due process rights were violated in

connection with his trials, including by the detectives from CPD Area One Violent Crimes (Area

1) who investigated the Smith-Hickman murders. Fields alleged that material exculpatory and/or

impeachment evidence was withheld from his defense and that these violations were caused by

an official policy or practice of the City of Chicago, thus subjecting the City to liability under

Monell. Fields v. City of Chicago, No. 10 C 1168, 2014 WL 477394, at *2 (N.D. Ill. Feb. 6,

2014). In 2011, during discovery in Fields’s civil suit, a file separate from the official

investigation file, commonly known as “street file,” concerning the Smith-Hickman murders that

was never disclosed during Fields’s trial was found in a file cabinet in Area 1. Fields, 2014 WL

477394, at *6–7.1 Fields’s Monell claim was submitted to the jury, and the jury ultimately found

for Fields and against the City.

        Kluppelberg alleges that his due process rights were violated in his 1988 arrest and 1989

criminal trial, including by the withholding of material exculpatory and/or impeachment

evidence, and that these violations were caused by the City’s official policy or practice of

concealing such evidence. (Id. at 4.) In August 2014, during discovery in this case, a street file

concerning the 1984 investigation of the fire deaths by detectives in CPD’s Area Three Violent




        1
           The street file was one of at least ten types of evidence that Fields argued at trial were withheld
from him by the individual defendants in violation of his due process rights. Other evidence included
police notes contained in the street file but never found; detectives’ failure to take notes concerning the
results of photo arrays; and detectives’ failure to document what photos were used during photo arrays.
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Crimes Unit (Area 3)2 was found in the CPD records warehouse and produced to Kluppelberg.

(Id. at 3; Dkt. 547 at 13.)3

        Kluppelberg now seeks to estop the City from contesting that it had a policy or practice

of withholding material exculpatory and/or impeachment information.4 He argues that, “having

already litigated the street file Monell claim and lost, the law now prevents the City from re-

litigating the same issue that was decided against it.” (Dkt. 586 at 2.)

                                          LEGAL STANDARD

        Offensive collateral estoppel, also known as issue preclusion, is when a plaintiff seeks to

estop a defendant from relitigating issues that the defendant previously litigated and lost in a

prior proceeding. Parklane Hosiery Co., Inc. v. Shore, 439 U.S. 322, 329, 99 S. Ct. 645, 58 L.

Ed. 2d 552 (1979). Issue preclusion is generally appropriate if (1) the issue sought to be litigated

is the same as the one involved in the prior action; (2) that issue was actually litigated in the first

action; (3) the determination of the issue was essential to the final judgment in the first action;

and (4) the party against whom estoppel is invoked had a full and fair opportunity to litigate the

issue in the first action. Chicago Truck Drivers v. Century Motor Freight, Inc., 125 F.3d 526,

530 (7th Cir. 1997).

        Collateral estoppel is properly applied to factual inferences drawn from a general jury

verdict where such findings are necessarily implied by the prior verdict. Ohio-Sealy Mattress


        2
            Referred to here as the “New File.”
        3
         In both cases, the plaintiffs retained the same expert (Michael Brasfield), and deposed the same
witness designated by the City (James Hickey).
        4
           Kluppelberg does not appear to argue, and the court does not find, that the Fields jury reached
any conclusion regarding whether the City had a policy or practice of fabricating evidence, or coercing
suspects or witnesses. As such, the City remains free to contest any claims regarding such policies or
practices.
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Mfg. Co. v. Sealy, Inc., 585 F.2d 821, 844 (7th Cir. 1978); see also Ag Servs. of Am., Inc. v.

Nielsen, 231 F.3d 726, 731 (10th Cir. 2000). Inferences are implied by a prior verdict if they are

necessary to support that verdict, and a rational jury thus must have made such findings. Id.

        If the four prerequisites for collateral estoppel are met, the court must then consider

whether the use of collateral estoppel would be unfair to the defendant. See Parklane, 439 U.S. at

331. Collateral estoppel “should not be applied unless it is clear that no unfairness will result to

the party that would be estopped from re-litigating the issue.” Goodwin v. Board of Trustees of

Univ. of Ill., 442 F.3d 611, 621 (7th Cir. 2006). When considering fairness, courts in this district

have considered whether “(1) the defendant may have been sued in the first action for ‘small or

nominal damages’ for which ‘he may have [had] little incentive to defend vigorously’; (2) the

‘judgment relied upon as a basis for estoppel is itself inconsistent with one or more previous

judgments in favor of the defendant’; or (3) ‘the second action affords the defendant procedural

opportunities . . . unavailable in the first action that could readily cause a different result.” Petit

v. City of Chicago, 90 C 950, 2001 WL 914457, at *5–6 (N.D. Ill. Aug. 13, 2000) (quoting

Parklane, 439 U.S. at 330).

        The City argues that it is impossible for the court to determine from a general jury verdict

whether the issues are the same and whether determination of the issue was essential to the final

judgment in the first action. The City further argues that, even if the requirements for collateral

estoppel are met, it would be unfair to apply it here.

                                             ANALYSIS

        To establish that the issues are the same and were necessarily decided, Kluppelberg must

show that the jury in Fields, in order to have reached its verdict, had to have found that the City

had a policy or practice of withholding material exculpatory and/or impeachment evidence,
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specifically street files.5 (In other words, if the jury could have found that the policy was to

withhold a different type of evidence not at issue in this case, the court could not conclude that

the verdict depended on street files.) The court finds that Kluppelberg has met that burden.

         That the jury must have found a policy or practice of withholding evidence is clear from

the jury instructions in Fields, which stated that, to succeed on his Monell claim, Fields must

prove by a preponderance of the evidence that “it was the policy of the City of Chicago to

conceal material exculpatory and/or impeachment evidence.” (See Dkt. 600-1, at 14.)

         The City argues that it was not necessary for the jury to find specifically that the withheld

evidence was street files. The City argues it might have been other exculpatory evidence Fields

claimed the individual defendants withheld, arguing that the fact that there was a general verdict

in Fields means the jury may have “only found Fields’ rights were violated by detectives’ failure

to record the details of photo arrays,” or by withholding one of the other ten types of evidence

presented, rather than the street file. (Dkt. 599 at 8.) Kluppelberg counters that all of Fields’s

evidence in support of the policy or practice claim solely addressed the maintenance of street

files.

         With respect to the jury’s Monell finding, there is no other policy or practice that would

have supported the verdict, because all the Monell evidence and argument related to CPD’s use

of street files.6 In fact, Fields never suggested that the ten other types of evidence that supported


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          Because Kluppelberg argues in his reply brief that “the evidence presented on the Monell claim
related exclusively to the City’s use of street files,” (dkt. 600, at 1), the court construes his request for
collateral estoppel to be similarly limited.
         6
         The City appears to make an additional argument that the issues are not necessarily the same
because there are differences in the detective areas and the time frames referred to in the street files in
each case, which it argues could have been crucial to the jury’s finding. In Fields, Brasfield,
Kluppelberg’s and Fields’s police practices expert, reviewed homicide files found in the basement of
Area 1, which covered Areas 1 through 4 from 1983 to 1989, and 1999 to 2006. Here, Brasfield reviewed
homicide files found in the CPD warehouse from Area 3, dated 1983 to 1991. The City claims that these
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his due process claims were also evidence for his Monell claim. (See Dkt. 600-2, at 135:10–11

(“The last claim in the case I want to talk about is the city’s policy claim. This is the street file

claim.”); see also Dkt. 600-4, at 248–49 (“Let’s talk about the policy claim . . . The policy

problem is the [police] didn’t replace the decentralized system. So the detective’s notes never got

turned over because the subpoena people didn’t know what to do. And then of course they

missed the real pointed [sic] which was the policy didn’t cover the street file.”).)

        As such, while Fields may have proven additional constitutional violations by the

individual defendants with other exculpatory evidence, for his Monell claim he must have proven

that the City had a policy or practice concerning street files, because that is the only evidence he

presented for it. Thus, because determining whether the City had a policy or practice of

withholding street files was necessary to the jury’s finding of liability, the general verdict in

Fields is sufficient for purposes of collateral estoppel.

        The City additionally argues that applying collateral estoppel would be unfair, and

therefore the court should exercise its discretion not to do so. (Dkt. 599, at 11–15.) The City does

not argue the Fields litigation did not have sufficiently high stakes, nor that the City has

additional procedural opportunities it lacked in Fields. Rather, the City argues collateral estoppel

would be unfair because (1) there are inconsistent rulings pertaining to the street files issue, and

differences are significant because they could be critical to determining the policy the jury actually found
in Fields, and whether that policy has any relevance to the instant case. (Dkt. 599 at 7.) As to the
difference in the areas at issue, James Hickey, the Rule 30(b)(6) witness designated by the City in both
cases, described in Fields how he conducted an audit of investigative files throughout each CPD area and
determined that file production problems were present citywide. (Dkt. 586-6, at 17:7–19:5; see also Dkt
586-2, at 149:5–150:17 (stating that practices across the different areas Dickey audited were similar and
the major difference was the terminology used).) The difference in the overlapping time frame is also not
a material difference. There has been no suggestion in this case or in Fields that the City’s policies or
practices were different from 1999 to 2006 than they were from 1983 to 1989. (See Dkt. 600-6 at 107:20–
108:2 (policies regarding investigative files unchanged through the 2000s); Dkt. 586-6 at 40:17-23.) Nor
has the City argued that the policy or practice changed between when Fields was convicted and when
Kluppelberg went to trial.
        Thus, the similarity between the policy or practice issue in Fields and the policy or practice issue
raised by Kluppelberg is sufficient for purposes of collateral estoppel when applying a general verdict.
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(2) the jury would be unfairly prejudiced against the individual defendants. (Id. at 13–14.)

Neither of these arguments is persuasive.

        The City points to two rulings it argues are inconsistent with the jury verdict in Fields.7

The first, Palmer v. City of Chicago, 806 F.2d 1316, 1324 (7th Cir. 1986), is inapposite. As an

initial matter, it focuses on a judicial ruling regarding attorney’s fees, not a jury verdict.

Moreover, the Seventh Circuit did not hold that there was no policy or practice of withholding

exculpatory material found in street files, but rather that the street files examined in that case

contained no exculpatory material. This is a different issue than the one in this litigation. The

second case cited by the City is the original jury verdict in Fields, which found no Monell

liability. See Fields v. City of Chicago, 10 C 1168, Dkt. 695 (May 1, 2014). The City’s argument

ignores two important facts, however: (1) the verdict was vacated and the Monell case retried,

and (2) the court granted a new trial on the Monell claims because it found that Fields was

“unfairly prejudiced at trial by rulings the Court made during the discovery process that

effectively prevented him from ascertaining whether evidence . . . had been withheld from

criminal defense attorneys in other cases.” See Fields, 10 C 1168, slip op at 10 (April 7, 2015).

Thus, because the court in Fields determined that its earlier ruling had “rendered it impossible

for Fields to attempt to show that the Chicago Police Department’s practice of file maintenance

and disclosure affected anyone other than him,” id., it granted a new trial, which resulted in the

verdict at issue here. Thus, while the prior verdict in Fields was inconsistent with the final

verdict in Fields, it was vacated explicitly because the court had erred in a way that prevented

Fields from having a fair opportunity to make his policy and practice case, therefore rendering

the “inconsistency” essentially moot.


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        The court does not address the third case cited by the City, Wardell v. City of Chicago,
98 C 8002, 2001 WL 1345960 (N.D. Ill. Oct. 31, 2001), because it does not involve the use of street files.
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       The City additionally argues that granting collateral estoppel will cause the jury to be

prejudiced against the individual defendants. The court disagrees. Kluppelberg will still have to

convince the jury that individual defendants had knowledge of the New File’s existence.

Additionally, individual defendants will have the opportunity to argue that the non-production of

the New File was not caused by the policy or practice in question. Finally, the defendants may

propose a jury instruction to help limit potential prejudice if necessary. The court does not

conclude that granting collateral estoppel against the City on whether it had a policy or practice

of withholding exculpatory material contained in street files will be unfair to the individual

defendants.

                                             ORDER

       For the foregoing reasons, Kluppelberg’s motion to apply collateral estoppel barring the

City from arguing that it did not have a policy or practice of withholding material exculpatory

and/or impeachment evidence contained in street files is granted.




Date: August 7, 2017                                  _______________________________
                                                      U.S. District Judge Joan H. Lefkow
